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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK                                 *
                                                                       fEB U5 2013
                                                                                                  *
                                                               LONG ISLAND OFFICE

  SHERRILEE O'NEY,

                      Plaintiff,
                                                           VQL.u t'<J'I~/~ (9VL<.£ c;s4-L-
               -against-                           NOTICEOF             T

  ENHANCED RECOVERY COMPANY, LLC,                  Case No. 2:12-cv-06228-LDW-AKT

                      Defendant.



                           NOTICE OF VOLUNTARY DISMISSAL

        SHERRILEE O'NEY (Plaintiff), by her attorneys, KROHN & MOSS, LTD., and pursuant

  to FRCP 4l(a)(l)(A) (Dismissal of Actions-Voluntary Dismissal By Plaintiff Without Court

  Order) voluntarily dismisses, with prejudice, the above-captioned action, filed against,

  ENHANCED RECOVERY COMPANY, LLC (Defendant), in this case.



  DATED: February I, 2013                RESPECTFULLY SUBMITTED,

                                         KROHN & MOSS, LTD.


                                   By: Is! Adam T. Hill

                                        Adam T. Hill
                                        KROHN & MOSS, LTD.
                                        10 N. Dearborn St., 3rd Fl.
                                        Chicago, Illinois 60602
                                        Telephone: 312-578-9428
                                        Telefax: 866-802-0021
                                        ahill@consumerlawcenter.com
                                        Attorneys for Plaintiff
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on February 1, 2013, I electronically filed the foregoing Notice of

   Voluntary Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said

   Notice was mailed to the below address.

          Ginny L. Rodriguez
          Enhanced Recovery Company, LLC
          8014 Bayberry Rd.
          Jacksonville, FL 32256
          grodriguez@erccollections.com



                                                      By: /s/ Adam T. Hill
                                                      Adam T. Hill
                                                      KROHN & MOSS, LTD.
                                                      10 N. Dearborn St., 3rd Fl.
                                                      Chicago, Illinois 60602
                                                      Telephone: 312-578-9428
                                                      Telefax: 866-802-0021
                                                      ahill@consumerlawcenter.com
                                                      Attorneys for Plaintiff




                /s/ Leonard D. Wexler




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